       Case 1:18-cv-00993-LTS-SLC Document 521 Filed 07/06/23 Page 1 of 2



July 6, 2023

The Honorable Laura Taylor Swain
United States District Court
Southern District of New York
500 Pearl Street
New York New York 1007
Re: CV No. 18-cv-993 Plaintiff’s Meet and Confer With Counsel RE- Motion to Reconsider or Change
                          Judge Cave’s Opinion and Order in ECF 509 filed on June22, 2023


To The Honorable Chief Judge Laura Taylor Swain:

     Pro se Plaintiff, Annamarie Trombetta, writes to Your Honor in light of Your most recent Order.
I note that I intended to file a submission to the Court today and fortunately read the docket before I
submitted my filing. Plaintiff appreciates and thanks Your Honor for Your responses and direction.

     As I wrote in ECF 510, Plaintiff reached out to New York Legal Assistance group regarding my
inquiry pertaining to ECF 509. As a Pro Se litigant, since last week, Plaintiff has been gathering legal
direction from the NYLAG team and other legal sources and received varied opinions. As a Pro Se
litigant, with limited legal experience, in reading Judge Cave’s Opinion and Order on page 14, I noted
Judge Cave has omitted or overlooked Plaintiff two letters filed on Dec. 8, 2022 in ECF 330 and on
Dec. 16, 2022 in ECF 338 to the Court. In both letters, Plaintiff did request permission to extend time
to complete my expert witness reports. Plaintiff notes this is the first time I asked the Court for an
extension specifically for my expert reports to be completed. I also add that Plaintiff was not feeling well
throughout Dec. 2022 which lasted into Jan. 2023 which I filed with the Court.

      As per Your Honor’s direction in ECF 520, Plaintiff did contact opposing counsel and had a
Zoom Meeting with attorney Adam Bialek of WorthPoint Corp. and attorney Anderson Duff of Estate
Auctions Inc. Pro Se Plaintiff discussed the subjects aforementioned, related to my Motion to Correct
or Reconsider Judge Cave’s Opinion and Order filed on June 22, 2023 in ECF 509, primarily due to
Judge Cave’s statement on page 14 of ECF 509 which I read to opposing counsel :

   “ Ms. Trombetta acknowledged that she“[u]nderstood,” and neither requested an extension of the
    December 19, 2022 deadline nor gave any indication that she might not meet it due to her experts’
    unavailability or for any other reason.

        Prior to committing time to write my Motion to Reconsider or Change Judge Cave’s Order and
Opinion, Plaintiff reviewed ECF 330 filed on Dce. 8, 2022 which is entitled “ Application to the Court
for an Extension for Expert Witness Report.” There are attached exhibits from the Nov. 23, 2022
Conference call transcript which document my requesting permission to make an application with the
Court for an extension.
       Case 1:18-cv-00993-LTS-SLC Document 521 Filed 07/06/23 Page 2 of 2




      Plaintiff and Defendants’ counsel discussed each side’s position on this matter with great detail. Mr
Bialek noted that on page 4 of Judge Caves’ Order and Opinion, she did list ECF 338, however this is to
note that Plaintiff ’s fact discovery was complete, without any attention to Plaintiff’s request for an
extension of time for my experts to complete their expert witness reports.

     All parties respectively listened to one another with consideration and unsurprisingly Defendants
counsel has chosen to take the position to oppose Plaintiff’s Motion to Reconsider or Change Judge
Cave’s Opinion and Order. With this duly stated, both attorneys in unison stated Plaintiff has the right
to file my Motion for Reconsideration or Motion to Change Judge Cave’s Order and Opinion.


     Plaintiff sets forth this letter in tandem with my Motion to Reconsider or Change Judge Cave’s
Order and Opinion. Lastly, Defendants’ counsel has informed Plaintiff the next stage of this case is to
await the Court’s decisions. Mr. Bialek also informed me there is no set time as to when all parties
will hear from the Court. Plaintiff extends my gratitude to all the members of the Court. I will be
pleased to renter the world that is most familiar to me, one of balance and hope, all of which are
necessary to to resume painting which I would like to do as soon as possible.



                                                         Respectfully Submitted
Pro Se Plaintiff
Annamarie Trombetta                                 ——— Electronic Signature———-
175 East 96th Street (12 R) New York,
New York 10128                                      /s/ Annamarie Trombetta July 6, 2023
                                              _________________________________________

                                                             Annamarie Trombetta
